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AO 440 (Rev 06/12) Summons in a Civil Action


                                     United States District Court
                                                                    for the

                                                         Southern District of Illinois




               CATHERINE ALEXANDER,

                           Plaintifffs)
                               V.                                             Civil Action No. 3:18-cv-966



TAKE-TWO INTERACTIVE SOFTWARE, INC., et al.

                          Defendants)


                                                    SUMMONS IN A CIVIL ACTION


To: (Defendant's name andaddress) Take-Two Interactive Software, Inc.
                                  c/o: Corporation Service Company
                                          251 Little Falls Drive
                                          Wilmington, DE 19808




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiffs attorney,
whose name and address are: Anthony G. Simon
                                          THE SIMON LAW FIRM, P.C.
                                          800 Market Street, Suite 1700
                                          St. Louis, MO 63101
                                          (314) 241-2929


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:       u[4ul
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